       Case: 4:09-cr-00066-MPM-DAS Doc #: 120 Filed: 04/09/10 1 of 2 PageID #: 280




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                                     CRIMINAL ACTION NO. 4:09CR66-P-S

TYPHRON ARMSTRONG,
STACY BROWN,
EVELYN JACKSON,
JAMES HENRY TURNER, III,
SHANISHA WILLIAMS, and
KELLY YOUNG,                                                                   DEFENDANTS.


                                 ORDER CONTINUING TRIAL

         This matter comes before the court upon Defendant Typhron Armstrong’s April 7, 2010

motion to continue trial [119]. After due consideration of the motion, the court finds as follows, to-

wit:

         Trial is currently set for April 26, 2010. Defense counsel requests a continuance to

accommodate a recently negotiated resolution to this matter as to all parties.

         The Government has no objection to the continuance.

         The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(7)(A), the period of delay from April 26, 2010 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(7)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial. The time

is also excludable as to Defendant Armstrong’s co-defendants pursuant to 18 U.S.C. section

3161(h)(6) because the period of delay is reasonable and no motions for severance have been
    Case: 4:09-cr-00066-MPM-DAS Doc #: 120 Filed: 04/09/10 2 of 2 PageID #: 281




granted.

       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1) Defendant Typhron Armstrong’s April 7, 2010 motion to continue trial [119] is

GRANTED;

       (2) Trial of this matter is continued as to all defendants until Monday, July 26, 2010 at 9:00

a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from April 26, 2010 to July 26, 2010 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is July 6, 2010; and

       (5) The deadline for submitting a plea agreement is July 13, 2010.

       SO ORDERED this the 9th day of April, A.D., 2010.



                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE
